                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                        at CHATTANOOGA

    UNITED STATES OF AMERICA                              )
                                                          )       Case No. 1:12-CR-91
    v.                                                    )
                                                          )        JUDGE MATTICE
    MICHAEL EVANS                                         )        MAGISTRA TE JUDGE CARTER



                                  REPORT AND RECOMMENDATION

           Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on October 30,

    2012. At the hearing, defendant entered a plea of guilty to Count One ofthe Indictment in

    exchange for the undertakings made by the government in the written plea agreement. On the

    basis of the record made at the hearing, I find that the defendant is fully capable and competent to

    enter an informed plea; that the plea is made knowingly and with full understanding of each of the

    rights waived by defendant; that it is made voluntarily and free from any force, threats, or

    promises, apart from the promises in the plea agreement; that the defendant understands the nature

    ofthe charge and penalties provided by law; and that the plea has a sufficient basis in fact.

            I therefore recommend that defendant's plea of guilty to Count One ofthe Indictment be

    accepted, that the Court adjudicate defendant guilty ofthe charges set forth in Count One of the

    Indictment, and that the written plea agreement be accepted at the time of sentencing. I further

    recommend that defendant remain in custody until sentencing in this matter. Acceptance of the

    plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

    specifically reserved for the district judge.

           The defendant's sentencing date is scheduled for Monday, February 25, 2013, at 9:00

    am.




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                                                   UNITED STATES MAGISTRATE JUDGE




                                          NOTICE TO PARTIES

            You have the right to de novo review of the foregoing findings by the district judge. Any
    application for review must be in writing, must specifY the portions ofthe findings or proceedings
    objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
    Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
    the plea of guilty in this matter. See 28 V.S.c. §636(b).




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